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   12                        UNITED STATES DISTRICT COURT
   13                       CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 DISCOVERY MATTER
   17

   18   THIS DOCUMENT RELATES TO                 JOINT STATUS REPORT
        ALL ACTIONS                              REGARDING THE COURT’S
   19                                            AUGUST 9 ORDER ON
                                                 PLAINTIFFS’ MOTION TO
   20                                            COMPEL PRODUCTION OF
                                                 DOCUMENTS BY THE NFL
   21
                                                 Magistrate Judge: Hon. John E.
   22                                            McDermott
                                                 Discovery Cutoff Date: 8/5/2022
   23                                            Pretrial-Conference Date: 2/9/2024
                                                 Trial Date: 2/22/2024
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    1         Pursuant to the Court’s August 9, 2022 Order, Dkt. 599, the NFL and Plaintiffs
    2   submit the following Joint Status Report regarding an order for the production of
    3   documents relating to current negotiations and any ultimate agreement about the
    4   future rights to NFL Sunday Ticket.
    5         1.    On August 18, 2022, Plaintiffs and the NFL met and conferred to discuss
    6   the scope of a document production and deposition regarding the current negotiations
    7   and future agreement for the rights to NFL Sunday Ticket.
    8         2.    Pursuant to that discussion, the parties agreed that the NFL will produce,
    9   within 45 days of the execution of an agreement for the future rights to Sunday
   10   Ticket, documents responsive to Plaintiffs’ Request for Production 112. The NFL
   11   will collect documents from the same custodians using the same agreed-upon search
   12   terms to which the parties agreed for the NFL’s May 7, 2022 production.
   13         3.    Should the NFL’s production take place after December 9, 2022,
   14   Plaintiffs shall be permitted to supplement their Opening Merits Expert Reports after
   15   January 6, 2023. This supplementation shall be limited to documents produced
   16   during any production occurring after December 9, 2022.
   17         4.    The parties further agreed that the NFL will produce a witness pursuant
   18   to Federal Rule of Civil Procedure 30(b)(6) on a topic relevant to this production to
   19   be agreed upon by the parties.
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           Dated: September 9, 2022           Respectfully submitted,
   23

   24                                         By:    /s/ Tyler Finn
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